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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                   )
                                                            )                   8:15CR20
                           Plaintiff,                       )
                                                            )
         vs.                                                )                    ORDER
                                                            )
CRISPIN HERRA-HERRA,                                        )
INES RIVADENEYRA-HERRERA,                                   )
JOSE CONSOSPO-PEREZ, and                                    )
JESUS MUNGUIA-AGUILAR,                                      )
                                                            )
                           Defendants.                      )


         This matter is before the court on the motion for an extension of time by defendant Ines Rivadeneyra-

Herrera (Rivadeneyra-Herrera) (Filing No. 61). Rivadeneyra-Herrera seeks an extension of sixty days in which to

file pretrial motions in accordance with the progression order. Rivadeneyra-Herrera's counsel has represented

Rivadeneyra-Herrera will file an affidavit wherein he consents to the motion and acknowledges he understands the

additional time may be excludable time for the purposes of the Speedy Trial Act. This is Rivadeneyra-Herrera's

third request for an extension of the pretrial motion deadline. Co-defendant Jose Consospo-Perez (Consospo-

Perez) filed a motion to suppress on April 20, 2015 (Filing No. 57). An evidentiary hearing on such motion was

delayed in order to save resources in the event other defendants filed a motion to suppress. Consospo-Perez has

objected to any further delay in scheduling an evidentiary hearing. Consospo-Perez's objection has merit. The

court will schedule an evidentiary hearing on Consospo-Perez's motion to suppress to commence at 9:30 a.m. on

July 7, 2015, in Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,

Omaha, Nebraska. Rivadeneyra-Herrera's motion to extend the pretrial motion deadline will be granted to the

extent any such motions must be filed by June 30, 2015. Any motion filed must be accompanied by a brief in

support of such motion. The government shall have to on or before June 30, 2015, in which to file a brief in

opposition to Consospo-Perez's motion. Should Rivadeneyra-Herrera file any motion as set forth above, the

evidentiary hearing will be held at the same time as that of Consospo-Perez's motion on July 7, 2015. If

Rivadeneyra-Herrera files any such motion(s), he shall be present for the hearing along with Consospo-Perez for

the evidentiary hearing on July 7, 2015.

         IT IS SO ORDERED.

         IT IS FURTHER ORDERED Rivadeneyra-Herrera's motion to extend time to file pretrial motions (Filing

No. 61) is granted to the extent set forth above. Consospo-Perez's objection and motion for miscellaneous relief

(Filing No. 62) is granted to the extent set forth above.



         DATED this 22nd day of June, 2015.

                                                                BY THE COURT:


                                                                s/ Thomas D. Thalken
                                                                United States Magistrate Judge
